Case 3:18-cv-00156-NJR           Document 709 Filed 12/29/23             Page 1 of 9      Page ID
                                          #16416



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

JANIAH MONROE, MARILYN MELENDEZ,                  )
LYDIA HELENA VISION,                              )
SORA KUYKENDALL, and SASHA REED,                  )
                                                  )
               Plaintiffs,                        )
                                                  )
       - vs-                                      )          No. 18-156-NJR
                                                  )
LATOYA HUGHES, MELVIN HINTON,                     )
and STEVEN BOWMAN,                                )
                                                  )
               Defendants.                        )

                DEFENDANTS’ MOTION FOR STAY PENDING APPEAL

   The Defendants, LATOYA HUGHES, MELVIN HINTON, and STEVEN BOWMAN (sued

in their official capacities as IDOC administrators), by and through their attorney, Kwame Raoul,

Attorney General for the State of Illinois, move pursuant to Federal Rule of Civil Procedure 62

and request that this Court stay enforcement of the injunctive relief that this Court entered on

November 16, 2023. Doc. 678, pending Defendants’ appeal of this Court’s judgment, Doc. 699.

                                           Introduction

   On November 16, 2023, this Court entered an order modifying a prior preliminary injunction

from February 2022 by changing it to a permanent injunction. Doc. 678, modifying Doc. 384.

The Court also found Defendants to be in contempt, concluding that Defendants had not shown

reasonable diligence in complying with the February 2022 injunction. Doc. 678, pp. 22-25. In

addition, the Court entered judgment in Plaintiffs’ favor and granted permanent injunctive relief.

Doc. 679.

   On December 5, 2023, the parties and co-Monitors attended a status conference.

Subsequently, this Court entered a Memorandum and Order, setting a reporting deadline for



No. 18-156                                                                              Page 1 of 9
Case 3:18-cv-00156-NJR            Document 709 Filed 12/29/23              Page 2 of 9      Page ID
                                           #16417



January 4, 2024; directing that Defendants continue the reporting that was originally ordered in

May 2023; and conveying an intent to schedule regular status hearings, including one in January

2024, as well as a possible evidentiary hearing in February 2024. Doc. 693.

   Defendants filed a notice of appeal on December 14, 2023, from the judgment and order

granting permanent injunctive relief. Doc. 699. Defendants now seek to stay the enforcement of

that injunctive relief pending the appeal. As expressed during the hearing on December 5,

Defendants intend to comply with the Court’s separate order regarding Pinckneyville transfer

reviews. See Doc. 680. Defendants also intend to comply with the reporting requirements

detailed in Doc. 693 that are due on January 4, 2024. Defendants do not intend to change course

as to the work that is already underway with respect to class members’ care; however,

Defendants seek a stay of any further orders, evidentiary hearings, reporting, etc. related to the

enforcement of the judgment and contempt orders that are subject to appeal. For these reasons, as

argued below, Defendants seek a stay of the injunction that is the subject of the pending appeal.

                                          Legal Standard

   Federal Rule of Civil Procedure 62(c) provides that a final judgment in an action for an

injunction is not stayed after being entered, even if an appeal is taken, unless the Court orders

otherwise. Section (d) of the same rule allows a court to suspend or modify an injunction while

an appeal is pending from a final order that grants an injunction on terms for bond or other terms

that secure the opposing party’s rights. Fed. R. Civ. P. 62(d). The factors for issuing a stay

require the applicant to show that (1) they are likely to succeed on the merits of their appeal; (2)

the applicant will be irreparably injured absent a stay; (3) issuance of a stay will not substantially

injure the other parties; and (4) the stay is within the public interest. Nken v. Holder, 556 U.S.

418, 426 (2009), quoting Hilton v. Braunskill, 481 U.S. 770, 776-77 (1987).




No. 18-156                                                                                Page 2 of 9
Case 3:18-cv-00156-NJR           Document 709 Filed 12/29/23              Page 3 of 9      Page ID
                                          #16418



                                             Argument

   Stays are “necessary to mitigate the damage that can be done during the interim period before

a legal issue is finally resolved on its merits.” A&F Enters., Inc. II v. IHOP Franchising LLC (In

re A&F Enters., Inc. II), 742 F.3d 763, 766 (7th Cir. 2014). The goal of a stay is to minimize the

costs of error. Id. Although the factors for a stay pending appeal largely mirror the factors for a

preliminary injunction, the context requires a fairly strong threshold showing of the likelihood of

success because the applicant’s arguments have already been evaluated by the same court. See In

re Forty-Eight Insulations, 115 F.3d 1294, 1301 (7th Cir. 1997).

   In this vein, actions taken pursuant to Rule 62(c) should, at a minimum, aid the appeal by

preserving the status quo. See United States v. Spectrum Brands, Inc., 2018 U.S. Dist. LEXIS

9187, at *3 (W.D. Wis. Jan. 19, 2018). Based upon Defendants’ actions towards compliance over

the several years that the preliminary injunctions were in place, Defendants do not intend to undo

those actions if a stay is granted; rather, Defendants merely seek to preserve the status quo by

staying enforcement of the November 2023 injunction and judgment that are the subject of the

pending appeal.

   A. Defendants have a likelihood of success on the merits of their appeal.

   Recognizing that this Court has rejected many of Defendants’ arguments in this matter in

favor of the Plaintiffs’ position, Defendants are not required to convince this Court as to their

case. Defendants are tasked only with making a “strong showing” that they are likely to succeed

on the merits for this Court to issue the requested stay. See Hilton, 481 U.S. at 776. Defendants

have provided information to this Court as well as the parties and co-Monitors to demonstrate

steps that IDOC has taken to comply with the Court’s injunctions. Although the Court has not

found Defendants to be “energetic” in compliance and has described some progress as




No. 18-156                                                                               Page 3 of 9
    Case 3:18-cv-00156-NJR        Document 709 Filed 12/29/23               Page 4 of 9       Page ID
                                           #16419



“sluggish,” this Court has recognized progress in earlier orders. See Docs. 331, 522, & 552. And,

the judgment entered on November 16, 2023, includes relief that indisputably has been mooted

or resolved in whole. Doc. 679, p. 2, ¶¶ 5-6 & following ¶¶ 1-2; p. 4, ¶¶ 11, 12, 1 13, 14, 15, 16;

p. 5 ¶¶ 18 & 20. Many other of the provisions have been complied with; however, there are

disputes as to the scope of compliance in whole or in part.

      Simultaneously, Defendants have presented a strong showing concerning the legal issues

with Plaintiffs’ requested relief, the breadth of this Court’s orders, the minimizing of the

deference afforded to Defendants and IDOC administrators, and procedural errors in this matter.

See Docs. 238, 346, 499, & 587. Defendants’ arguments on the breadth and scope of the relief

provided to Plaintiffs and sovereignty concerns have relied on the plain language of the Prison

Litigation Reform Act and established case law, as well as newer, precedential opinions that

have been released in recent years. Defendants will also argue that errors leading up to the

Court’s November 2023 order and final judgment warrant reversal of that relief. By extension,

Defendants will raise challenges to the continuation of preliminary injunctions that had expired

automatically under the PLRA and contempt findings based upon expired injunctions. In

addition, this Court’s February 2022 order was a preliminary injunction by its own terms that

expired and there is no identifiable authority under the PLRA or case law that authorized the

Court to retroactively modify an expired preliminary injunction to make it a permanent one, as

occurred here.

      For these reasons, Defendants have met their burden in making a strong showing that

supports the requested stay in this matter.



1
  Paragraph 12 (directing Defendants to finalize a contract with Dr. Schechter) was based upon confusion
of the circumstances and was later addressed. In any event, Dr. Schechter is the surgeon providing
gender-affirming surgeries.


No. 18-156                                                                                  Page 4 of 9
Case 3:18-cv-00156-NJR            Document 709 Filed 12/29/23              Page 5 of 9      Page ID
                                           #16420



   B. Defendants will suffer irreparable injury if no stay is put in place at this juncture.

   Moreover, the other stay factors weigh in Defendants’ favor. If a court determines that the

party has a lowered likelihood of success on the merits, the balance of harms may make up for it

based upon a “sliding scale.” A&F Enters., Inc. II, 742 F.3d at 766.

   Foremost in this balancing is the injury to Defendants if no stay is put into place. The balance

of harms is to be considered “primarily in terms of the balance of risk of irreparable harm in case

of a judicial error.” Camelot Banquet Rooms, Inc. v. United States SBA, 14 F.4th 624, 628 (7th

Cir. 2021). This Court has expressed its intention to proceed with another evidentiary hearing in

February 2024 in relation to its November 2023 order and judgment.

   Moreover, this Court has already found the Defendants in contempt of the Court’s injunction.

Doc. 678, p. 25. Although it declined to impose sanctions at that time, it found that Defendants

failed to be reasonably diligent in complying with the Court’s orders. Doc. 678. It both

encouraged Plaintiffs to file another contempt motion and expressed that it would modify the

injunction or enter another enforcement order if it disagrees with Defendants’ plan on achieving

full compliance. Id., p. 25.

   In addition, Plaintiffs have proceeded with another transfer motion, this time to transfer class

members out of Menard Correctional Center. Doc. 705. Such motions distract from the nature of

this class action, which was certified pursuant to Federal Rule 23(b)(2), defined as one in which

“the party opposing the class has acted or refused to act on grounds that apply generally to the

class, so that final injunctive relief or corresponding injunctive relief is appropriate respecting

the class as a whole.” Fed. R. Civ. P. 23(b)(2). Continuing with such filings while the matter is

on appeal will injure the Defendants by requiring them to continuously defend against their

compliance, not only with the permanent injunction—which is being challenged on appeal—but




No. 18-156                                                                                Page 5 of 9
Case 3:18-cv-00156-NJR            Document 709 Filed 12/29/23               Page 6 of 9      Page ID
                                           #16421



also with any ancillary matters that arise that were not specifically part of the preliminary

injunction.

    Based upon the history of this matter and the Court’s expressed plan, there is a high

likelihood that this Court will modify its injunction or issue further purported enforcement orders

unless a stay is put into place. The Court has demonstrated its desire to proceed with the

priorities of the Plaintiffs and co-Monitors and flagged that it intends to hold an evidentiary

hearing in February 2024. There is also a high chance that Plaintiffs will move for another

contempt finding based upon the Court’s encouragement. Either or both of these actions will

leave Defendants in the awkward position of continuing to litigate this matter and defend their

ongoing compliance actions while simultaneously appealing overlapping procedural and legal

issues to the appellate court.

    As this Court has acknowledged there was “confusion . . . unintentionally infused into this

case” due to proceedings under the Court’s preliminary injunctions, the last of which the Court

recently modified to make permanent. Doc. 678, p. 25. In light of the procedural and legal

history of this matter, Defendants will be harmed if this matter proceeds while the appeal is

pending.

    C. The issuance of a stay will not substantially injure the Plaintiffs.

    The Plaintiffs proceeded on this matter under an Eighth Amendment deliberate indifference

claim against agency-wide policies and practices pertaining to the treatment of gender dysphoria.

Plaintiffs’ complaints spanned allegations of deficiencies in hormone therapy, surgical care,

social transition, prison placement, and staff training. Although Plaintiffs do not agree that any of

the policies or practices at issue meet the constitutional floor, there is no dispute that staff has

received training regarding gender dysphoria, that hormone therapy has improved, that surgical




No. 18-156                                                                                  Page 6 of 9
Case 3:18-cv-00156-NJR           Document 709 Filed 12/29/23              Page 7 of 9      Page ID
                                          #16422



evaluations and surgeries are occurring, that commissary and clothing offerings have improved,

that facility placement has changed (with many transgender female class members housed at a

female facility), and that IDOC has improved the overall care and treatment afforded to class

members. Docs. 462, 502, 505, 532, 537, 563, 572, 647, 674. In fact, many of the motions or

critical monitor reports over the course of 2023 have dealt with isolated complaints from

individuals or individual facilities, e.g., Docs. 544, 546, 569, 573, 595, 606, 631, 682, many of

which fall outside of the Departmental policies or practices set forth in the Departmental rules.

   Here, the Defendants do not ask to stay or reverse the efforts it has taken over the previous

years in an attempt to achieve compliance and improve care to the Plaintiff class; however,

Defendants do seek to preserve the status quo as it stands. This will not substantially harm the

Plaintiff class but rather will preserve the status quo while the matter is on appeal.

   D. A stay is in the public interest.

   For the public interest element, preservation of the status quo remains an important

consideration. Courts have found that, in cases where a party sues a governmental entity to

enjoin the enforcement of a law or regulation, the last two factors largely overlap. See, e.g.,

Peterson v. Vill. of Downers Grove, 2016 U.S. Dist. LEXIS 13867, *18-19 (N.D. Ill. Feb. 4,

2016). A governmental entity has an interest in non-interference by a federal court with

presumptively valid rules. Id. Defendants have previously argued that under the Prison Litigation

Reform Act they should be allowed to craft procedures and plan how to implement relief that

meets the constitutional standards. Doc. 587, pp. 15-18, citing Docs. 346 & 499. At this juncture,

imposing new obligations on Defendants without appellate review of the process that has been

undertaken thus far will only further entrench the Court’s involvement in agency operations.




No. 18-156                                                                               Page 7 of 9
Case 3:18-cv-00156-NJR           Document 709 Filed 12/29/23              Page 8 of 9      Page ID
                                          #16423



   For these reasons, this Court should enter a stay of further proceedings while the appeal taken

to the Seventh Circuit Court of Appeals is pending. Defendants intend to comply with the

December and January 4 deadlines set forth in Document numbers 680 and 693; however, they

request that the Court stay further evidentiary hearings and other substantive proceedings.

   WHEREFORE, Defendants respectfully request that this Court stay enforcement orders and

related actions, evidentiary hearings, and any other matters that will alter the status quo while the

appeal to the Seventh Circuit Court of Appeals remains pending.


                                                      Respectfully submitted,
                                                      LATOYA HUGHES, MELVIN HINTON, and
                                                      STEVEN BOWMAN,
                                                              Defendants,
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No. 18-156                                                                               Page 8 of 9
Case 3:18-cv-00156-NJR          Document 709 Filed 12/29/23            Page 9 of 9    Page ID
                                         #16424



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION
JANIAH MONROE, MARILYN MELENDEZ,                )
LYDIA HELENA VISION,                            )
SORA KUYKENDALL, and SASHA REED,                )
                                                )
               Plaintiffs,                      )
                                                )
       - vs-                                    )           No. 18-156-NJR
                                                )
ROB JEFFREYS, MELVIN HINTON,                    )
and STEVEN BOWMAN,                              )
                                                )
               Defendants.                      )

                                   CERTIFICATE OF SERVICE

       I hereby certify that on December 29, 2023, the foregoing document, Defendants’ Motion
For Stay Pending Appeal, was electronically filed with the Clerk of the Court using the CM/ECF
system which will send notification of such filing to the following:

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No. 18-156                                                                           Page 9 of 9
